                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

TANIYAH CRUTCH-WILLIAMS,
RODNEY JR. WILLIAMS,
CHARLOTTE WILLIAMS,
RODNEY SR. WILLIAMS,
CHRISTINE ROGERS, DANNY ROGERS,
DELAILA PINO LASALLE,
KENNETH NUNEZ ARROYO,
ESMERALDA ARROYO,
KEILA GARDNER, MARVIN GARDNER,
TRELANE JACKSON,
LEON ZETAR, SHARON ZETAR,
ALTHEA HOUSTON, CURT HOUSTON,
JILL LIPTON,
MINORS 2-8 and 10-13 by and through their Next Friends.

     Plaintiffs,

         v.                               Case No. 2022 CV 222

SHEVAUN HARRIS, as Secretary of the
Florida Department of Children and Families;
JOSEPH LADAPO, M.D., as the Executive
Director of the Florida Department of Health;
PATRICIA ARMSTRONG, as the Bureau Chief
of the Florida Department of Health Child
Protection Team; and
DENNIS MOORE, as Executive Director of the
Florida Guardian ad Litem Program,

     Defendants.




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            PLAINTIFFS’ SECOND AMENDED COMPLAINT1

       Plaintiffs, Taniyah Crutch-Williams, Rodney Jr. Williams, Charlotte

Williams, Rodney Sr. Williams, Christine Rogers, Danny Rogers, Delaila

Pino LaSalle, Kenneth Nunez Arroyo, Esmeralda Arroyo, Keila Gardner,

Marvin Gardner, Trelane Jackson, Leon Zetar, Sharon Zetar, Althea

Houston, Curt Houston, Jill Lipton2, and Minors #s 2-8 and 10-13 by and

through their next friends (as set forth below), file this civil action against

Defendants, SHEVAUN HARRIS, as Secretary of the Department of

Children and Families (“DCF”), JOSEPH LADAPO, M.D., as the Executive

Director of the Florida Department of Health, (“DOH”), PATRICIA

ARMSTRONG, as the Bureau Chief of the Florida Department of Health

Children’s Medical Services and the Child Protection Team (“CMS” or

“CPT”), and DENNIS MOORE, as Executive Director of the Florida

Guardian ad Litem Program (“GAL”) within the Statewide GAL Office, and

in support of their pleading, Plaintiffs allege:


1 On February 24, 2023, the Court granted Defendants’ motions to dismiss (Doc. No. 40).
The Court granted Plaintiffs leave to amend by March 10, 2023, (Doc. No. 40), and that
deadline was subsequently extended to March 24, 2023. (Doc. No. 42). By filing the
Second Amended Complaint, Plaintiffs are not intending to waive any rights or claims of
error related to the Court’s rulings on the motions to dismiss (Doc. Nos. 27 & 28).
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  Pseudonyms are used throughout this pleading both to protect the privacy rights of the
parties, including minors, and to avoid potential retaliation by Defendants.
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                                     I.
                            STATEMENT OF THE CASE

      1.      This case is about protecting families by ending customs and

policies that deprive and threaten to deprive Plaintiffs of rights secured by

the First Amendment to the United States Constitution.

      2.      Defendants have customs and policies of separating siblings in

foster care; not scheduling regular and meaningful visitation among siblings

who are separated by Defendants; not placing children in foster care with

adult relative caregivers; and ignoring the recommendations and

preferences of biological parents, whose rights have not been terminated,

about the placement of their children with siblings and adult relative

caregivers.

      3.      The rights at issue are secured by the First Amendment to the

United States Constitution. Specifically, Defendants’ customs and policies

deprive Plaintiffs or threaten to deprive Plaintiffs of their rights of

association and cohabitation with family members when Defendants

remove children from their homes and place them in foster care. When

balanced against the fundamental rights at issue, Defendants’ customs and

policies cannot survive strict scrutiny. See generally City of Dallas v. Stanglin,


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490 U.S. 19 (1989); Buckley v. Valeo, 424 U.S. 1, 25 (1976); United States v. Del

Valle-Cruz, 785 F.3d 48, 51-52 (1st Cir. 2015); United States v. Bear, 769 F.3d

1221, 1229 (10th Cir. 2014); United States v. Quinn, 698 F.3d 651, 651 (7th Cir.

2012); United States v. Worley, 685 F.3d 404, 408 (4th Cir. 2012); United States v.

Voelker, 489 F.3d 139, 154-55 (3d Cir. 2007); United States v. Davis, 452 F.3d

991, 995 (8th Cir. 2006).

      4.    As a result, a declaratory judgment should be entered declaring

that it is unconstitutional and a deprivation of Plaintiffs’ First Amendment

rights to have practices, customs, and policies of: separating siblings who are

removed from their homes by Defendants and placed into foster care; not

scheduling regular visitation among siblings who are separated by

Defendants; not placing children in foster care with adult relative caregivers;

and ignoring the recommendations and preferences of biological parents,

whose rights have not been terminated, about the placement of their children

with siblings and adult relative caregivers.

      5.    In addition, a preliminary injunction should be entered until a

permanent injunction requires Defendants to discontinue its customs and

policies, as set forth above, and to properly train and supervise case workers

responsible for: placing siblings in foster care together; scheduling regular
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visitation among siblings who are not placed together; placing children in

Defendants’ custody with adult relative caregivers; and discussing

biological parents’ recommendations and preferences when their child(ren)

is/are taken by Defendants and placed into foster care. 3

                                           II.
                                      THE PARTIES
A.     The Plaintiffs

6.     Plaintiffs are individuals whose rights have been deprived or who are

threatened by the deprivation of rights as the result of Defendants’ customs

and policies; or individuals who bring claims in representative capacities on

behalf of minors whose rights have been deprived or are at risk of being

deprived by Defendants’ customs and policies.




3 Some courts analyze the constitutional rights raised by this complaint under the
substantive due process clause of the Fourteenth Amendment. See e.g. Aristotle P. v.
Johnson, 721 F. Supp. 1002, 1007-1010 (N.D. IL 1989). For purposes of both FRCP 8 (a) &
(e), Plaintiffs put Defendants on notice that they intend to pursue their claims under
either the First or Fourteenth Amendment or both should this Court determine that its
analysis of Plaintiffs’ claims would differ in any meaningful way under those
Amendments. Some courts have determined the analysis of the claims raised in this
pleading would be the same under either the First or Fourteenth Amendment. See e.g.
Kenny A. ex rel Winn v. Perdue, 218 F.R.D. 277, 298 (N.D. GA 2003) (Plaintiffs stated claims
under First, Ninth, and Fourteenth Amendments; “[t]he constitutional right to family
integrity encompasses the right of children in foster care to have meaningful contact with
their siblings and parents.”); Connor B. ex rel. Vigurs v. Patrick, 771 F. Supp. 2d 142, 163-64
(D. Mass. 2011).
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7.    In general, Plaintiffs are children in Defendants’ custody or children

who are at imminent risk of being in Defendants’ custody; or adults with

family members who are children in Defendants’ custody or who are at

imminent risk of being in Defendants’ custody. Individuals in state custody

have constitutional rights inter alia to conditions of confinement which bear

a reasonable relationship to the purpose of their custody. Jackson v. Indiana,

406 U.S. 715, 738 (1972). The purpose of the child welfare system is to

promote the well-being, permanency, and safety of children and families by

helping families create nurturing and loving family environments without

infringing on parental rights.

8.    The Plaintiffs include members of the Williams family. Taniyah

Crutch-Williams and Rodney Jr. Williams are residents of Clay County,

Florida.

9.    Taniyah and Rodney Jr. are the biological parents of three children:

Minor #1 – Ra. Williams; Minor #2 – Ro. Williams; and Minor #3 – Ta.

Williams.

10.   Taniyah and Rodney Jr. bring individual and representative claims.

Taniyah and Rodney Jr. have all parental rights to Minor #3. Taniyah and

Rodney Jr.’s parental rights were terminated as to Minors #1 and #2.
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11.   Minor #1 was adopted by a family with connections to Florida’s foster

care system. Kids First of Florida, Inc. contracted with DCF to provide case

management services for children taken into Defendants’ custody. Minors

#s 1 & 2 were two of those children.

12.   A board member (the husband) and agent (the wife) of KFF adopted

Minor #1 and attempted to adopt Minor #2.

13.   Minor #2 was taken into Defendants’ custody based on allegations of

abuse or neglect related to Minor #1. There were no allegations of abuse or

neglect involving Minor #2.

14.   Minor #2 was adopted by Charlotte and Rodney Sr. Williams.

15.   Defendants attempted to take Minor #3 into their custody based on

allegations of abuse related to Minor #1. However, Defendants were

unsuccessful and Minor #3 remained and remains in the custody of his

biological parents, Taniyah and Rodney Jr.

16.   Taniyah and Rodney Jr.’s individual claims are related to their

fundamental right to the care, custody, and control of their children. There

is an imminent risk that Minor #3 will be taken by Defendants or that

Defendants will attempt to take custody of Minor #3. Defendants have a

custom or policy of taking siblings from their parents when there are
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allegations of abuse or neglect related to a sibling. Defendants have

threatened or attempted to take custody of Minor #3 based on historic

allegations of abuse or neglect of Minor #1.

17.   Taniyah and Rodney Jr.’s representative claims are related to Minor

#3’s fundamental right to visitation with his siblings, Minors #1 & #2.

18.   Charlotte and Rodney Sr. Williams, who reside in Clay County,

Florida, have representative claims on behalf of Minor #2. Charlotte and

Rodney Sr. adopted Minor #2. Charlotte and Rodney’s representative claims

are related to Minor #2’s fundamental right to visitation with his siblings,

Minors #s 1 & 3.

19.   Christine and Danny Rogers have representative claims on behalf of

Minor #4 - Ar. Doe. Christine and Danny Rogers adopted Minor #4, who has

a sibling in care (John Doe). Christine and Danny Rogers’ representative

claims are related to Minor #4’s fundamental right to visitation with her

sibling.

20.   The Arroyo family includes Delaila Pino LaSalle, Kenneth Nunez

Arroyo, and Esmeralda Arroyo. Delaila and Kenneth reside in Palm Beach

County, Florida and are the biological parents of Minors #s 5-7, Ad. and Ax.

Pino LaSalle, and El. Pino. Esmeralda is the paternal grandmother of Minors
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#s 5 – 7 and she resides in Lee County, Florida. All three children are in

Defendants’ custody. Delaila and Kenneth have parental rights to Minors #s

5-7. Delaila and Kenneth recommended and continue to recommend that

Minors #s 5-7 be placed with and adopted by Esmeralda, if the children

cannot be returned home. Esmeralda, in turn, wants to adopt Minors #s 5-7.

Esmeralda is an appropriate adult relative caregiver.

21.   Delaila and Kenneth’s individual claims are related to their

fundamental right to control the care and custody of their children. Delaila

and Kenneth have requested of Defendants that their children be placed

together with an adult relative caregiver. Defendants have refused and

continue to refuse to respect the parents’ requests. Delaila and Kenneth have

requested that, until their children can be reunified, regular sibling visitation

be granted. However, to date, Defendants have refused and continue to

refuse this request by the biological parents.

22.   Delaila and Kenneth’s representative claims are related to Minors #s

5-7’s fundamental rights to cohabitate together as siblings, to regularly visit

one another as siblings, and to cohabitate with a relative adult caregiver.

Minors #s 5 & 6 are in Defendants’ custody and placed together with a non-



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relative caregiver. Minor #7 is also in Defendants’ custody but placed with

a different non-relative caregiver.

23.   Keila and Marvin Gardner reside in Tennessee and bring

representative claims on behalf of their maternal grandchild, Minor # 8 - Mi.

Gardner. Minor #8 has eight siblings who either have been adopted by

relative adult caregivers or are in the custody of their biological parents.

Minor #8 does not reside or have scheduled visitation with any one of his

eight siblings. Keila and Marvin’s representative claims are related to Minor

#8’s fundamental rights to visitation with his siblings and cohabitation with

an adult relative caregiver. Defendants have taken custody of Minor #8.

Keila and Marvin desire and intend to adopt Minor #8, if Minor #8 cannot

be returned home. Keila and Marvin are appropriate adult relative

caregivers.

24.   Trelane Jackson brings representative claims on behalf of her maternal

grandchild, Minor #9 – DK, and she resides in Putnam County, Florida.

Trelane Jackson’s representative claim is related to Minor #9’s fundamental

right to cohabitation with an adult relative caregiver. Trelane Jackson’s

individual claim is related to her fundamental right to cohabitation with her

grandson. Defendants have taken custody of Minor #9, who is not currently
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residing with an adult relative caregiver. Defendants placed Minor #9 into

foster care with a stranger to the family. Defendants placed Minor #9 with a

foster care system insider. Defendants placed Minor #9 with the President

of the Florida Foster / Adoptive Parent Association (“FAPA”), a DCF

contractor. Trelane is an appropriate adult relative caregiver.

25.   Leon and Sharon Zetar bring individual claims related to the

placement of Minor #10 – Le. Zetar with an adult relative caregiver. Leon

and Sharon also bring representative claims related to Minor #10’s

fundamental right to cohabitation with an adult relative caregiver.

Defendants have taken custody of Minor #10, who is not residing with an

adult relative caregiver despite her biological father’s recommendation.

Leon recommended and continues to recommend that Minor #10 be placed

with and adopted by Sharon if his daughter is unable to return home. Leon

is Minor #10’s biological father and Leon has all paternal rights to Minor

#10. Sharon is Minor #10’s paternal aunt and desires that Minor #10 be

placed with her, unless and until the minor can be returned home. If Minor

# 10 cannot be returned home, then Sharon’s intention is to adopt Minor #10.

Sharon is an appropriate adult relative caregiver.



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26.   Althea and Curt Houston bring representative claims on behalf of their

maternal grandchildren, Na. Kreps – Minor #11 and Ni. Kreps – Minor #12.

Althea and Curt reside in Hillsborough County, Florida. Defendants have

taken custody of Minors #s 11 & 12, who do not reside with an adult relative

caregiver.

27.   Althea and Curt’s representative claims are related to Minors #s 11 &

12’s fundamental rights to cohabitation with an adult relative caregiver.

28.   Althea and Curt’s claims are related to their fundamental rights to

cohabitation with their grandchildren. Althea and Curt are appropriate

adult relative caregivers.

29.   Jill Lipton brings a representative claim on behalf of her biological

daughter, Minor #13 – Is. Lipton. Jill and Minor #13 reside in Pasco County,

Florida. Minor #13 has two older siblings that Defendants have taken

custody of previously or have threatened to take custody of previously.

When Minor #13’s sibling was taken by Defendants, regular sibling

visitation was not scheduled and her sibling was not placed with an adult

relative caregiver.

30.   Jill’s individual claim is related to her fundamental right to the care,

custody, and control of her children. There is an imminent risk that Minor
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#13 will be taken by Defendants or that Defendants will attempt to take

custody of Minor #13. Defendants have a custom or policy of taking siblings

from their parents when there are allegations of abuse or neglect related to a

sibling. There is an imminent risk that Defendants will attempt to take

custody of Minor #13 based on historic allegations of abuse or neglect of

Minor #13’s siblings.

B.    The Defendants

31.   Shevaun Harris is the Secretary of DCF.

32.   Joseph Ladapo, M.D. is the Executive Director of the DOH.

33.   Patricia Armstrong is the Bureau Chief of CMS or CPT.

34.   Dennis Moore is Executive Director of the Florida GAL program.

35.   Defendants are sued in their official capacities.

                                   III.
                        JURISDICTION AND VENUE

36.   Jurisdiction is invoked pursuant to 28 U.S.C §§1331 and 1343 in that

this is a civil action arising under 42 U.S.C. §1983 to redress the Defendants’

deprivation under color of law of the federal rights, privileges and

immunities secured to the relatives and children involved in the Florida

foster system by the Constitution and laws of the United States. The federal


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rights sought to be redressed are guaranteed by the First and Fourteenth

Amendments to the United States Constitution. This Court also has

jurisdiction pursuant to 28 U.S.C. §§2201 and 2202, as Plaintiffs seek

declaratory and injunctive relief related to: (1) the separation of siblings in

care; (2) regularly scheduled visitation when siblings are separated in care;

and (3) the separation of children in care from their relatives.

37.   Venue lies in Leon County, Florida pursuant to 28 U.S.C. §1391(b), as

Plaintiffs’ claims arise out of their relationship with the Defendants, who

operate the Florida foster care system throughout the state; and a majority

of the Defendants, if not all of the Defendants, have their principal place of

business in Leon County, Florida, which is located in the Northern District

of Florida, Tallahassee Division.

                                 IV.
                   PLAINTIFFS’ CLAIMS: An Overview

38.   42 U.S.C. § 1983 states in relevant part, “Every person who, under color

of any statute, ordinance, regulation, custom, or usage, of any State or

Territory or the District of Columbia, subjects, or causes to be subjected, any

citizen of the United States or other person within the jurisdiction thereof to

the deprivation of any rights, privileges, or immunities secured by the


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Constitution and laws, shall be liable to the party injured in an action at law,

suit in equity, or other proper proceeding for redress…”

39.   In this case, Plaintiffs seek prospective injunctive relief against

Defendants. Each deprivation of rights alleged herein is redressable through

prospective injunctive relief and / or a declaratory judgment. Each claim

asserted infra is against each one of the Defendants because Defendants’

practices, customs, and polices have deprived, deprive, and will continue to

deprive Plaintiffs of their constitutional rights.

40.   The United States Supreme Court has recognized that the freedom to

enter into and carry on certain intimate or private relationships is a

fundamental element of liberty protected by the Bill of Rights. Such

relationships may take various forms, including the most intimate. See Moore

v. East Cleveland, 431 U.S. 494, 503–504 (1977) (plurality opinion). The

Supreme Court has not attempted to mark the precise boundaries of this

type of constitutional protection. The intimate relationships the Supreme

Court has accorded constitutional protection include marriage, Zablocki v.

Redhail, 434 U.S. 374, 383–386 (1978); the begetting and bearing of children,

Carey v. Population Services International, 431 U.S. 678, 684–686 (1977); child

rearing and education, Pierce v. Society of Sisters, 268 U.S. 510, 534–535 (1925);
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and cohabitation with relatives, Moore v. East Cleveland, 431 U.S. at 503–504.

See also Bd. of Directors of Rotary Int'l v. Rotary Club of Duarte, 481 U.S. 537, 545

(1987); McCabe v. C.E. Sharrett, 12 F. 3d 1558, 1563 (11th Cir. 1994).

41.   The First Amendment protects those relationships, including family

relationships, that presuppose “deep attachments and commitments to the

necessarily few other individuals with whom one shares not only a special

community of thoughts, experiences, and beliefs but also distinctively

personal aspects of one's life.” Roberts v. United States Jaycees, 468 U.S. 609,

619–620 (1984).

42.   The Supreme Court has recognized that the right to engage in activities

protected by the First Amendment implies “a corresponding right to

associate with others in pursuit of a wide variety of political, social,

economic, educational, religious, and cultural ends.” Roberts v. United States

Jaycees, 468 U.S. at 622. See also NAACP v. Claiborne Hardware Co., 458 U.S.

886, 907–909 (1982). For this reason, “[i]mpediments to the exercise of one's

right to choose one's associates can violate the right of association protected

by the First Amendment....” Hishon v. King & Spalding, 467 U.S. 69, 80, n. 4

(1984) (POWELL, J., concurring) (citing NAACP v. Button, 371 U.S. 415 (1963);

NAACP v. Alabama ex rel. Patterson, 357 U.S. 449 (1958)).
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43.   The First Amendment protects two categories of association: intimate

association and expressive association. Moore v. Tolbert, 490 Fed.Appx. 200,

203 (11th Cir. 2012) (per curiam). The right to intimate association derives

from the fundamental right to personal liberty and guarantees that

individuals can enter into and maintain certain intimate human

relationships. Id. The right to expressive association arises out of activities

explicitly identified in the First Amendment and therefore guarantees the

right of individuals to associate for purposes of speaking, assembling,

petitioning for the redress of grievances, and exercising religion. Robert, 468

U.S. at 618. The intimate and expressive features of constitutionally

protected association may coincide. McCabe, 12 F.3d at 1563.

44.   A plaintiff who challenges a custom or policy on the grounds that it

violates the right to intimate association must establish that the custom or

policy infringes upon a protected personal relationship. McCabe, 12 F.3d at

1563. On one end of the spectrum are those clearly protected personal

relationships which are “the most intimate” of human associations (i.e.,

those that attend the creation and sustenance of the family – marriage,

childbirth, raising and educating children, and cohabitation with relatives).

Roberts, 468 U.S. at 619.
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45.   The right of intimate association is the freedom to choose to enter into

and maintain certain intimate human relationships, and it is protected from

undue government intrusion as a fundamental aspect of personal liberty.

Gaines v. Wardynski, 871 F.3d 1203, 1212 (11th Cir. 2017). This constitutional

protection encompasses cohabitating with one’s relatives. Roberts, 468 U.S.

at 619. A custom or policy that directly and substantially interferes with

family living arrangements burdens this fundamental right. Lyng v. Castillo,

477 U.S. 635, 638 (1986).

46.   When government intrudes on choices concerning family living

arrangements, courts must carefully examine the importance of the

government interests advanced and the extent to which they are served by

the challenged custom or practice. Moore, 431 U.S. at 499.

47.   Decisions concerning the placement of siblings together, regularly

scheduled visitation among siblings, and the placement of children with

adult relative caregivers are protected as a part of parents’ fundamental

rights to control the care and custody of their children. Troxel v. Granville,

530 U.S. 57 (2000); Santosky v. Kramer, 455 U.S. 745 (1982) (“The fundamental

liberty interest of natural parents in the care, custody, and management of

their child does not evaporate simply because they have not been model
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parents or have lost temporary custody of their child to the State.”); Stanley

v. Illinois, 405 U.S. 645 (1972); Duchesne v. Sugarman, 566 F.2d 817, 825 (2d Cir.

1977).

48.   A local government entity is liable under Section 1983 when action

pursuant to a policy causes a constitutional deprivation. Monell v. Dep’t. of

Soc. Serves., 436 U.S. 658, 691 (1978). That includes a policy of inaction when

such inaction amounts to a failure to protect constitutional rights. City of

Canton v. Harris, 489 U.S. 378, 388 (1989). The custom or policy of inaction

must be the result of a conscious or deliberate choice to follow a course of

action among various alternatives by officials responsible for establishing

policy for the subject matter at issue. Pembaur v. City of Cincinnati, 475 U.S.

469, 483084 (1986) (plurality opinion).

49.   A local government entity’s failure to train its employees can also

create Section 1983 liability when the failure to train amounts to deliberate

indifference to the rights of persons with whom those employees are likely

to come into contact. City of Canton, 489 U.S. at 388-89.

50.   In that event, the deficiencies in the training program must be closely

related to the alleged injury. In other words, the plaintiff must show her



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injury would have been avoided had the government entity properly trained

its employees. City of Canton, 489 U.S. at 389-91.

51.   In this case, Plaintiffs were deprived of their constitutional rights by

Defendants, who have customs or policies which are deliberately indifferent

to Plaintiffs’ First Amendment rights of cohabitation and association with

relatives.

52.   Defendants’ customs or policies were and are the moving forces

behind the constitutional violations alleged herein.

53.   Defendants were acting at all applicable times under color of state law.

54.   Whether Defendants had a custom or policy of deliberate indifference

is generally a question of fact. City of Canton, 489 U.S. at 390.

55.   Defendants were and are aware that children taken into custody were

not and are not placed with their siblings and / or adult relative caregivers.

That custom and policy is widespread throughout the Florida foster care

system.

56.   In instances where siblings in care are not placed together, Defendants

were and are aware that siblings are not afforded visitation with one

another. That custom and policy is widespread throughout the Florida foster

care system.
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57.   Defendants, fully aware of those widespread and ongoing customs

and practices, failed and continue to fail to properly train and supervise

employees responsible for placing siblings in custody together and, when

siblings are not placed together, for affording siblings regular and

meaningful visitation with one another.

58.   Defendants, fully aware of those widespread and ongoing customs

and practices, failed and continue to fail to properly train and supervise

employees responsible for placing children with adult relative caregivers.

59.   Defendants, fully aware of those widespread and ongoing customs

and practices, failed and continue to fail to properly train and supervise

employees responsible for working with parents whose rights have not been

terminated on their preferences for placing children with adult relative

caregivers.

60.   Defendants failed to implement and maintain proper procedures

which would require, prior to placing siblings in separate foster homes,

efforts to place siblings together.

61.   Defendants failed to implement and maintain proper procedures

which would require, after siblings are placed in separate foster homes,

efforts to afford siblings regular and meaningful visitation with one another.
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62.   Defendants failed to implement and maintain proper procedures

which would require, prior to placing children in non-relative foster homes,

efforts to place children with relative adult caregivers.

63.   Defendants failed to implement and maintain proper procedures

which would require, prior to placing children in non-relative foster homes,

efforts to place children with adult relative caregivers as recommended by

the child’s parent(s).

64.   Defendants have a custom or policy of taking custody of children

without taking proper efforts to place siblings together.

65.   Defendants have a custom or policy of separating siblings in foster care

without visitation.

66.   Defendants have a custom or policy of taking custody of children

without taking proper efforts to place children with adult relative caregivers.

67.   Defendants have a custom or policy of taking custody of children

without taking proper efforts to place children with adult relative caregivers

in accordance with the parent or parents’ recommendation(s).

68.   As the result of Defendants’ customs and policies, Defendants did not

bother to place siblings together, to afford siblings visitation, to place



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children with adult relative caregivers, or to consider placement

recommendations from the parent(s).

69.   Because children are taken into custody and children are unable to take

care of themselves or advocate for themselves, training and supervision of

case workers is of paramount importance. When proper steps are not taken

to place siblings together, to allow sibling visitation, to place children with

adult relative caregivers, or to consider placement recommendations made

by the parents the consequences are dire. Siblings in care are separated,

without visitation, and children are not placed with adult relative caregivers.

The resulting historic constitutional deprivations have caused irreparable

harm. Brothers and sisters have been torn apart. Children have been placed

with strangers when appropriate adult relative caregivers are available. The

risk of ongoing deprivations far outweighs the burden on Defendants of

properly training and supervising their employees and correcting

Defendants’ historic and ongoing customs and practices.

70.   Despite the knowledge of historic deprivations and the knowledge of

impending and ongoing constitutional deprivations, Defendants have

chosen to ignore the problem, thereby displaying an official custom or

practice which was and is deliberately indifferent to the rights of minor
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siblings in care, the rights of adult relative caregivers, and the rights of

parents, whose rights have not been terminated, all of whom have and / or

are likely to come into contact with Florida’s foster care system.

71.   Plaintiffs have a fundamental right to determine their own familial

residential arrangements without governmental interference. Times of

adversity, like that which occurs when a child is placed into Defendants’

custody, require that extended family come together to maintain or rebuild

a secure home life.

72.   Plaintiffs are siblings who desire to live together, children who desire

to live with adult relative caregivers, adult relative caregivers who desire to

reside with or adopt children taken by Defendants and in Defendants’

custody, and parents whose rights have not been terminated and have

preferences and recommendations for placement of their children with adult

relative caregivers.

73.   Plaintiffs have standing to bring the constitutional claims in this

complaint. At the pleading stage, “general factual allegations of injury

resulting from the defendant's conduct may suffice, for on a motion to

dismiss we presume that general allegations embrace those specific facts

that are necessary to support the claim.” 31 Foster Parents v. Bush, 329 F.3d
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1255, 1264 (11th Cir. 2003) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555,

561 (1992)) (citations and internal marks omitted). See also Florida Action

Committee, Inc. v. Seminole County, 212 F. Supp.3d 1213, 1220 (M.D. Flo. 2016)

(At the pleading stage, the burden of establishing standing is not particularly

onerous and will be satisfied by general allegations of injury resulting from

Defendants’ conduct.).

74.     Plaintiffs have suffered and will continue to suffer injuries in fact. A

causal connection exists between Plaintiffs’ injuries and Defendants’

conduct. Plaintiffs’ injuries will be redressed by a favorable decision in this

case.

75.     Plaintiffs’ claims are not barred by absolute immunity, the Eleventh

Amendment, the Rooker-Feldman Doctrine, Younger Abstention, or any other

similar defense.

76.     Absolute immunity is inapplicable because none of the Plaintiffs were

prosecuted in any state court proceedings related to the rights or

deprivations alleged herein. Therefore, none of the Plaintiffs “lost” in any

state court proceedings related to any of the rights or deprivations alleged

herein. For this same reason, the Rooker-Feldman doctrine does not apply. Roe

v. State of Ala. By and Through Evans, 43 F.3d 574, 579-580 (11th Cir. 1995)
                                        25
(“because the plaintiffs are not parties to the circuit court action, the

plaintiffs had no opportunity to raise their constitutional claims in the circuit

court …”); Wood v. Orange County, 715 F.2d 1543, 1547 (11th Cir. 1983) “The

Rooker bar can only apply to issues that the plaintiff had a reasonable

opportunity to raise.”). In addition, Plaintiffs are not asking this Court to

review, reverse, or invalidate any final state court decisions. Defendants’

practices, customs, and polices injured, continue to injure, or threaten to

injure Plaintiffs.

77.   The Eleventh Amendment is inapplicable because Plaintiffs seek

prospective injunctive relief to enjoin state officials from ongoing violations

of Plaintiffs’ Constitutional rights. Will v. Michigan Department of State Police,

491 U.S. 58 (1989); Doe 1-13 v. Chiles, 136 F.3d 709, 719 (11th Cir. 1998).

78.   In addition, Younger abstention has no place in this case because inter

alia there are no ongoing dependency proceedings in which the minors or

adult relative caregivers could have raised any of the constitutional

deprivations alleged herein. § 39.501 et seq., Fla. Stat. (2013).

                                     V.
                     PLAINTIFFS’ CLAIMS: Causes of Action

                                     Count I


                                        26
  Plaintiffs: Taniyah Crutch – Williams and Rodney Jr. Williams as next
                           friends of Minor #3
  Section 1983: First Amendment Right of Association (sibling visitation)

79.   Based on the deprivations of rights alleged herein, Taniyah and

Rodney Jr. as next friends of Minor #3 seek prospective injunctive relief

against Defendants.

80.   There is no adequate remedy at law.

81.   Irreparable injury will continue to occur without this Court’s

intervention.

82.   The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

83.   Appropriate injunctive relief in this case would promote justice and

the public interest.

                                 Count II
 Plaintiffs: Charlotte and Rodney Sr. Williams as next friends of Minor #2
  Section 1983: First Amendment Right of Association (sibling visitation)

84.   Based on the deprivations of rights alleged herein, Charlotte and

Rodney Sr. as next friends of Minor #2 seek prospective injunctive relief

against Defendants.

85.   There is no adequate remedy at law.
                                    27
86.   Irreparable injury will continue to occur without this Court’s

intervention.

87.   The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

88.   Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                                 Count III
  Plaintiffs: Taniyah and Rodney Jr. Williams as next friends of Minor #3
  Section 1983: First Amendment Right of Association (cohabitation with
                         adult relative caregivers)

89.   There is a real and immediate threat that Minor #3 will be taken into

custody by Defendants.

90.   Based on the threatened deprivation of rights alleged herein, Taniyah

and Rodney Jr. as next friends of Minor #3 seek prospective injunctive relief

against Defendants.

91.   There is no adequate remedy at law.

92.   Irreparable injury will continue to occur without this Court’s

intervention.




                                     28
93.   The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

94.   Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                                  Count IV
                Plaintiffs: Taniyah and Rodney Jr. Williams
Section 1983: First Amendment Right of Association (parental control over
                              custody and care)

95.   There is a real and immediate threat that Minor #3 will be taken into

custody by Defendants.

96.   Based on the threatened deprivation of rights alleged herein, Taniyah

and Rodney Jr. seek prospective injunctive relief against Defendants.

97.   There is no adequate remedy at law.

98.   Irreparable injury will continue to occur without this Court’s

intervention.

99.   The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.




                                     29
100. Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                                 Count V
    Plaintiffs: Danny and Christine Rogers as next friends of Minor #4
  Section 1983: First Amendment Right of Association (sibling visitation)

101. Based on the deprivations of rights alleged herein, Danny and

Christine as next friends of Minor #4 seek prospective injunctive relief

against Defendants.

102. There is no adequate remedy at law.

103. Irreparable injury will continue to occur without this Court’s

intervention.

104. The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

105. Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                                  Count VI
Plaintiffs: Delaila Pino LaSalle and Kenneth Nunez Arroyo as next friends
                               of Minors #s 5-7
Section 1983: First Amendment Right of Association (sibling cohabitation)




                                     30
106. Based on the deprivations of rights alleged herein, Delaila and

Kenneth as next friends of Minors #s 5-7 seek prospective injunctive relief

against Defendants.

107. There is no adequate remedy at law.

108. Irreparable injury will continue to occur without this Court’s

intervention.

109. The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

110. Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                                  Count VII
Plaintiffs: Delaila Pino LaSalle and Kenneth Nunez Arroyo as next friends
                                 of Minor #7
 Section 1983: First Amendment Right of Association (sibling visitation)

111. Based on the deprivations of rights alleged herein, Delaila and

Kenneth as next friends of Minors #7 seek prospective injunctive relief

against Defendants.

112. There is no adequate remedy at law.




                                     31
113. Irreparable injury will continue to occur without this Court’s

intervention.

114. The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

115. Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                                  Count VIII
                        Plaintiff: Esmeralda Arroyo
  Section 1983: First Amendment Right of Association (cohabitation with
                         adult relative caregivers)

116. Based on the deprivation of rights alleged herein, Esmeralda seeks

prospective injunctive relief against Defendants.

117. There is no adequate remedy at law.

118. Irreparable injury will continue to occur without this Court’s

intervention.

119. The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.




                                     32
120. Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                                  Count IX
Plaintiffs: Delaila Pino LaSalle and Kenneth Nunez Arroyo as next friends
                               of Minors #5-7
 Section 1983: First Amendment Right of Association (cohabitation with
                          adult relative caregivers)

121. Based on the deprivation of rights alleged herein, Delaila and Kenneth

seek prospective injunctive relief against Defendants.

122. There is no adequate remedy at law.

123. Irreparable injury will continue to occur without this Court’s

intervention.

124. The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

125. Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                                    Count X
        Plaintiffs: Delaila Pino LaSalle and Kenneth Nunez Arroyo
Section 1983: First Amendment Right of Association (parental control over
                               custody and care)




                                     33
126. Delaila and Kenneth seek prospective injunctive relief against

Defendants.

127. There is no adequate remedy at law.

128. Irreparable injury will continue to occur without this Court’s

intervention.

129. The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

130. Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                                 Count XI
     Plaintiffs: Keila and Marvin Gardner as next friends of Minor #8
  Section 1983: First Amendment Right of Association (sibling visitation)

131. Based on the deprivations of rights alleged herein, Keila and Marvin

as next friends of Minor #8 seek prospective injunctive relief against

Defendants.

132. There is no adequate remedy at law.

133. Irreparable injury will continue to occur without this Court’s

intervention.



                                     34
134. The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

135. Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                                   Count XII
                    Plaintiffs: Keila and Marvin Gardner
  Section 1983: First Amendment Right of Association (cohabitation with
                          adult relative caregivers)

136. Based on the deprivation of rights alleged herein, Keila and Marvin

seek prospective injunctive relief against Defendants.

137. There is no adequate remedy at law.

138. Irreparable injury will continue to occur without this Court’s

intervention.

139. The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

140. Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                                  Count XIII
                         Plaintiffs: Trelane Gardner
                                     35
  Section 1983: First Amendment Right of Association (cohabitation with
                         adult relative caregiver)

141. Based on the deprivation of rights alleged herein, Trelane seeks

prospective injunctive relief against Defendants.

142. There is no adequate remedy at law.

143. Irreparable injury will continue to occur without this Court’s

intervention.

144. The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

145. Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                                Count XIV
                         Plaintiffs: Sharon Zetar
  Section 1983: First Amendment Right of Association (cohabitation with
                         adult relative caregiver)

146. Based on the deprivation of rights alleged herein, Sharon seeks

prospective injunctive relief against Defendants.

147. There is no adequate remedy at law.

148. Irreparable injury will continue to occur without this Court’s

intervention.
                                     36
149. The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

150. Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                               Count XV
                         Plaintiffs: Leon Zetar
Section 1983: First Amendment Right of Association (parental control over
                          custody and care)

151. Leon seeks prospective injunctive relief against Defendants.

152. There is no adequate remedy at law.

153. Irreparable injury will continue to occur without this Court’s

intervention.

154. The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

155. Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                                 Count XVI
             Plaintiffs: Leon Zetar as next friend of Minor #10
  Section 1983: First Amendment Right of Association (cohabitation with
                          adult relative caregivers)
                                     37
156. Based on the deprivation of rights alleged herein, Leon seeks

prospective injunctive relief against Defendants.

157. There is no adequate remedy at law.

158. Irreparable injury will continue to occur without this Court’s

intervention.

159. The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

160. Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                                 Count XVII
  Plaintiffs: Althea and Curt Houston as next friend of Minors #s 11 & 12
  Section 1983: First Amendment Right of Association (cohabitation with
                          adult relative caregivers)

161. Based on the deprivation of rights alleged herein, Althea and Curt seek

prospective injunctive relief against Defendants.

162. There is no adequate remedy at law.

163. Irreparable injury will continue to occur without this Court’s

intervention.



                                     38
164. The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

165. Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                                  Count XVIII
                     Plaintiffs: Althea and Curt Houston
  Section 1983: First Amendment Right of Association (cohabitation with
                          adult relative caregivers)

166. Based on the deprivation of rights alleged herein, Althea and Curt seek

prospective injunctive relief against Defendants.

167. There is no adequate remedy at law.

168. Irreparable injury will continue to occur without this Court’s

intervention.

169. The ongoing deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

170. Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                                     Count IXX
                Plaintiff: Jill Lipton as next friend of Minor #13
                                        39
  Section 1983: First Amendment Right of Association (cohabitation with
                         adult relative caregivers)

171. There is a real and immediate threat that Minor #13 will be taken into

custody by Defendants.

172. Based on the threatened deprivation of rights alleged herein, Jill as

next friend of Minor #13 seeks prospective injunctive relief against

Defendants.

173. There is no adequate remedy at law.

174. Irreparable injury will continue to occur without this Court’s

intervention.

175. The threatened deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

176. Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                               Count XX
                          Plaintiff: Jill Lipton
Section 1983: First Amendment Right of Association (parental control over
                           custody and care)

177. There is a real and immediate threat that Minor #13 will be taken into

custody by Defendants.
                                     40
178. Based on the threatened deprivation of rights alleged herein, Jill seeks

prospective injunctive relief against Defendants.

179. There is no adequate remedy at law.

180. Irreparable injury will continue to occur without this Court’s

intervention.

181. The threatened deprivations of constitutional rights outweighs any

potential harm to Defendants by enjoining the practices, customs, and

policies described herein.

182. Appropriate injunctive relief in this case would promote justice,

further the public interest, and prevent irreversible harm.

                                Count XXI
                                 Plaintiffs
   Declaratory Judgment: Defendants’ Practices, Customs, and Policies
               Violate Plaintiffs’ First Amendment Rights

183. Defendants enforce and maintain practices, customs, and policies

regarding sibling placement, sibling visitation, adult relative caregiver

placement, and parental control notwithstanding their knowledge that their

practices, customs, and policies cause severe harm to minors in their custody

and Plaintiffs who are deprived or are threatened with deprivations of

fundamental constitutional rights.


                                     41
184. Defendants have been and continue to be deliberately indifferent to

Plaintiffs’ rights.

185. A declaration that Defendants’ practices, customs, and policies violate

Plaintiffs’ constitutional rights will end widespread, historic, and ongoing

deprivations of rights.

      WHEREORE Plaintiffs demand judgment against Defendants and pray

for the following relief:

             a. Prospective injunctive relief, in the form of a preliminary and

                permanent injunction against Defendants.

             b. A declaratory judgment that the practices, customs, and policies

                complained of in this Second Amended Complaint are

                unconstitutional.

             c. The entry of an order assessing Plaintiffs’ costs and reasonable

                attorney’s fees against the Defendants pursuant to 42 U.S. C. §

                1988. And,

             d. Such other and further relief for Plaintiffs as the Court deems

                equitable and just.

      Dated this 24th day of March, 2023.
                                      /s/ Karen Gievers

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Karen Gievers, Esq.
Florida Bar No.: 262005
P.O. Box 16459
Tallahassee, Florida 32317
PH: 850.570.0425
Kgievers@karengievers.com

/s/ Octavia Brown
Octavia Brown, Esq.
Community Law for Families
and Children, PLLC
Florida Bar No.: 0011778
Valentina Villalobos, Esq.
Community Law for Families and
Children, PLLC
Florida Bar No.: 100426
3104 N. Armenia Avenue, STE 2
Tampa, Florida 33607
PH: 813.822.3522
FAX: 863.250.8228
Octavia.brown@community-lawyer.com

And

/s/ Aaron Rapier
Aaron Rapier, Esq.
Rapier Law Firm
Admitted Pro Hac Vice
Illinois Bar No. 6270472
1770 Park Street, Suite 200
Napierville, Illinois 60563
PH: 630.853.9224
arapier@rapierlawfirm.com

Trial Attorneys for Plaintiffs



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